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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                    Eastern District
                                                  __________ Districtofof
                                                                       California
                                                                          __________

                  United States of America                           )
                             v.                                      )
                  Alexander Rey DIAZ Sr
                                                                     )
                                                                     )
                                                                            Case No.
                                                                                         1:24-mj-00023 SKO
                                                                     )
                                                                     )
                                                                     )
                          Defendant(s)


 CRIMINAL COMPLAINT%<5(/,$%/((/(&7521,&257(/(3+21,&0($16
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   February 21, 2024              in the county of            San Joaquin       in the
      Eastern          District of            California         , the defendant(s) violated:

         Code Section                                                         Offense Description
 21 USC Section 841                              Possession with Intent to Distribute over 50 grams of Methamphetamine
                                                 and over 40 grams of Fentanyl
                                                 5-40 years, $5M fine, 4 to life of supervised release, $100 fee

18 USC Section 922                               Felon in possession of firearm
                                                 15 years in prison, $250,000 fine, 3 years of supervised release; $100 fee



         This criminal complaint is based on these facts:
See affidavit of HSI SA Jackie Lovato, attached hereto and incorporated herein.




         ✔ Continued on the attached sheet.
         u


                                                                                                Complainant’s signature

                                                                                          Jackie Lovato, Special Agent
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFH                                                      Printed name and title
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Date: 2/22/2024
                                                                                                   Judge’s signature

City and state:                         Fresno, California                       Hon. Sheila K. Oberto, U.S. Magistrate Judge
                                                                                                 Printed name and title
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 1

 2                               IN THE UNITED STATES DISTRICT COURT

 3                                  EASTERN DISTRICT OF CALIFORNIA

 4
     UNITED STATES OF AMERICA,                           CASE NO.
 5
                                  Plaintiff,             AFFIDAVIT OF HSI SA JACKIE LOVATO
 6
                            v.
 7
     ALEXANDER REY DIAZ SR (DIAZ)
 8
                                  Defendants.
 9

10

11 I, Jackie Lovato, being duly sworn, hereby depose and state as follows:

12          1.     I am a Special Agent with the United States Department of Homeland Security (“DHS”)/

13 Immigration and Customs Enforcement/ Homeland Security Investigations (“HSI”), presently assigned to

14 the Office of the Resident Agent in Charge, Fresno, California (“HSI Fresno”). I am a “federal law

15 enforcement officer” within the meaning of Federal Rule of Criminal Procedure 41(a)(2)(C). I have been

16 employed as an HSI Special Agent (SA) since December of 2018. I have received training in the area of

17 federal narcotic offenses and am a graduate of the Federal Law Enforcement Training Center, Criminal

18 Investigator and Immigration and Customs Enforcement Special Agent Training Programs. Prior to my

19 appointment as a SA with HSI, I was previously a SA with the Treasury Inspector General for Tax

20 Administration, a Border Patrol Agent, and Deportation Officer.

21          2.     I have participated in investigations including, gangs, drugs, firearms, violent crimes, and

22 others. My law enforcement experience includes conducting physical surveillance, interviewing

23 witnesses, victims and suspects, writing affidavits for and executing search warrants, handling confidential

24 informants, analyzing phone records obtained from subpoenas, search warrants, pen registers, trap and

25 trace devices, and collecting and processing evidence. Through my training and experience as a law

26 enforcement officer, I have become familiar with the gang sub-culture and drug sub-culture including

27 knowledge of controlled substance and firearms violations.

28


      AFFIDAVIT                                          1
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 1          3.        This affidavit is made in support of a criminal complaint for ALEXANDER REY DIAZ

 2 SR (DIAZ) for violating the following:

 3                 x Title 21, United States Code, Section 841, Possession of a controlled substance for sale.

 4                 x Title 18, United States Code, Section 922, Felon in Possession of a firearm.

 5          4.        The facts in the affidavit come from personal observations and training and, where noted,

 6 information related to me by other law enforcement officers and/or agents.

 7          5.        Because this affidavit is written solely for the purpose of establishing probable cause for

 8 issuance of a criminal complaint, not all results of this investigation have been included herein.

 9                                          I.      PROBABLE CAUSE
10          A.        Search warrant of DIAZ’s residence at 4529 Quashnick Road Stockton, CA 95212
                      on February 21, 2024
11
            6.        On February 13, 2024, the Honorable Erica P. Grosjean, United States Magistrate Judge
12
     in and for the Eastern District of California, authorized the search of the residence located at 4529
13
     Quashnick Road Stockton, CA 95212 (QUASHNICK RESIDENCE) along with the person of
14
     ALEXANDER REY DIAZ SR.
15
            7.        On February 21,2024, at approximately 6:03 AM, Homeland Security Investigations
16
     (HSI) Special Agents (SA) and Task Force Officers (TFO) from the Stockton and Fresno, CA office,
17
     members of the San Francisco Special response Team (SRT), along with detectives and officers from the
18
     Stockton Police Department and San Joaquin Sheriff’s Office executed the federal search warrant at the
19
     QUASHNICK RESIDENCE.
20
            8.        Agents and Officers encountered seven individuals at the time of the search warrant.
21
     Agents and officers ultimately located and seized four loaded firearms, 1 ammunition of various calibers,
22
     a ballistic vest, miscellaneous gun parts, high-capacity magazines, various amounts of assorted narcotics
23
     pills, 2 approximately 338.6 grams of a white crystalline substance (suspected methamphetamine),
24
     approximately 177.9 grams of a white powdery substance (suspected cocaine), and approximately 142.4
25
     grams of blue colored “M/30” fentanyl pills. 3 Based on my training and experience, I believe that the
26
            1
                 Two handguns and two semi-automatic Draco pistols
27
            2
                 Approximately 112 hydrocodone pills and 90 Alprazolam pills
28          3
                 Although these substances have not been tested, based on your affiant’s training and experience

      AFFIDAVIT                                            2
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 1 methamphetamine, cocaine, and fentanyl pills are in much larger quantities than a user amount. Based

 2 on the number of doses contained, the possession of these narcotics is consistent with distribution.

 3          9.      DIAZ and his girlfriend Jessica LEYVA shared a bedroom labeled as bedroom “G.”

 4 Bedroom “G” had a bed on the north wall, a tall dresser on the western wall, and a tv stand/dresser on

 5 the southern wall. There was a nightstand on each side of the bed. On the east side of the bedroom was a

 6 black purse that contained a wallet that had LEYVA’s state issued identification. Additionally, there was

 7 a cellphone on the nightstand on the east side of the bed that had a cell phone on it with a butterflies on

 8 the phone case. LEYVA subsequently stated to your affiant that the “butterfly case” belonged to her.

 9          10.     On the opposite side of the bed (west side) there was a nightstand that contained a

10 cellphone connected to a charger. Next to the nightstand was a tall dresser with two loaded handguns on

11 top of the dresser. One handgun was identified as a loaded .40 caliber Sig Sauer P250 and the second

12 firearm was identified as a FNH Five-seveN, 5.7x28 caliber handgun. There was a closet in room “G”

13 that was labeled as “H.” In the closet (“H”) agents found the aforementioned narcotics, two DRACO

14 7.62 caliber semi-automatic pistols, and body armor.

15          11.     The aforementioned narcotics were located in a gray shopping bag and in separate Ziploc

16 style baggies that was within a green tote bag that was in the closet on top of one of the seized DRACO

17 7.62 caliber semi-automatic pistols. The green tote also contained a prescription bottle in DIAZ’s name.

18 The closet (“H”) was in a bedroom (‘G”) that contained indicia of DIAZ. DIAZ also walked into the

19 bedroom (“G’) that contained the firearms to retrieve clothing.

20          12.     Of note, your affiant called DIAZ’s telephone number (209) 479-1377 (#1377)—which

21 the investigative team identified as DIAZ’s number through a wiretap and had been tracking the location

22 of—and the telephone that was located on the western nightstand next to the tall dresser, rang in the

23 presence of law enforcement officers. DIAZ also provided #1377 as his telephone number during jail-

24 booking information questions.

25          13.     The individuals encountered at the residence were interviewed. Your affiant interviewed

26 DIAZ’s adult daughter, BETHANY, who was unhandcuffed, previously told she was free to go by your

27

28 I believe that these are the above-listed narcotics.


      AFFIDAVIT                                           3
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 1 affiant, and was also told she did not have to talk to officers, and your affiant asked who the firearms

 2 belonged to, and BETHANY stated, “my dad” [DIAZ]. BETHANY also stated DIAZ’s room was

 3 across from her room, which contained a makeup vanity. It should be noted there were only two

 4 bedrooms, and the room across from BETHANY’s room was identified as room “G.”

 5          Statement of Alexander Rey DIAZ Sr

 6          14.    At approximately 6:50 AM, HSI Special Agent Aaron Rodas and United States Postal

 7 Inspection Service (USPIS) Postal Inspector Sonia Perez interviewed DIAZ. DIAZ was provided a

 8 statement of his rights which he acknowledged and signed at approximately 6:56 AM. DIAZ agreed to

 9 answer questions without an attorney present. In summary, DIAZ stated he slept in room “G” with his

10 girlfriend (LEYVA) and affirmed it was the room with a chandelier. DIAZ was asked, “When they

11 search are they going to find any other guns in there” and DIAZ responded, “Um, in my room there’s a

12 couple guns.” SA Rodas then asked, “What other guns do you have in there” and DIAZ responded, “I

13 have two micro-AK’s” (i.e., the DRACO 7.62 caliber semi-automatic pistols). DIAZ also stated,

14 “Stockton is dangerous as hell” and when asked, “are you prohibited at all” DIAZ responded, “Yeah.”

15 When asked about the narcotics, DIAZ requested an attorney present and the interview ended.

16          Prior Felony Record

17          15.    On August 12, 2019, DIAZ was convicted of California penal code 29800, felon/addict in

18 possession of a firearm and Health and Safety Code 11378, possession of a controlled substance for sale

19 and committed to 16 months incarceration. It should be noted, agents and officers located a State of

20 California Notice and conditions of Post Release Community Supervision (PRCS) dated September 12,

21 2019, signed by DIAZ. Of note, the form stated DIAZ “shall not own, use, have access to, or have

22 under you control; (a) any type of firearm instrument or device which a reasonable person would believe

23 to be capable of being used as a firearm or any ammunition which could be used in a firearm…..”

24          Firearm Nexus

25          16.    Alcohol Tobacco & Firearms Special Agent Payton Smith, who has specialized training

26 and experience with firearms origins, has confirmed all four firearms, both DRACO’s, Sig Sauer, and

27 FNH, found at the residence of DIAZ at the execution of the search warrant at the QUASHNICK

28 RESIDENCE, were not manufactured within the state of California.


      AFFIDAVIT                                          4
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 1          17.    On the basis of the aforementioned facts and circumstances described in this Affidavit, it

 2 is my belief that there is probable cause to believe that DIAZ violated Title 21, United States Code

 3 Section 841, possession of a controlled substance for sale and 18 USC 922, felon in possession of a

 4 firearm/ammunition.

 5          I declare under penalty of perjury under the laws of the United States that the foregoing is true and
 6 correct.

 7
                                                           _______________________________
 8                                                        Jackie Lovato, Special Agent
                                                          Homeland Security Investigations, HSI
 9

10
   Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by Telephone
11 on
   2/22/2024
12 _______________

13

14 ___________________________________
   Hon. Sheila K. Oberto
15 United States Magistrate Judge

16 Reviewed as to form:

17  /s/ Justin J. Gilio
   JUSTIN J. GILIO
18 Assistant U.S. Attorney

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      AFFIDAVIT                                          5
